 Case 18-30264-sgj11         Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10           Desc
                               Main Document    Page 1 of 16


Rakhee V. Patel – SBT #00797213                 Brian P. Shaw
Annmarie Chiarello – SBT #24097496              State Bar No. – 24053473
WINSTEAD PC                                     CLOUSE DUNN LLP
500 Winstead Building                           1201 Elm Street, Suite 5200
2728 N. Harwood Street                          Dallas, Texas 75270-2142
Dallas, Texas 75201                             Telephone: (214) 220-3888
Telephone: (214) 745-5400                       Facsimile: (214) 220-3833
Facsimile: (214) 745-5390                       shaw@clousedunn.com
Email: rpatel@winstead.com
Email: achiarello@winstead.com

ATTORNEYS FOR JOSHUA N. TERRY


                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


IN RE:                                           §            Case No. 18-30264-SGJ-7
                                                 §            Case No. 18-30265-SGJ-7
ACIS CAPITAL MANAGEMENT, L.P.,                   §
ACIS CAPITAL MANAGEMENT GP,                      §            (Jointly Administered Under Case
LLC,                                             §            No. 18-30264-SGJ-7)
                                                 §
               DEBTORS.                          §            Chapter 7
                                                 §

   EMERGENCY MOTION FOR AN ORDER APPOINTING A TRUSTEE FOR THE
    CHAPTER 11 ESTATES OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS
     CAPITAL MANAGEMENT GP, LLC PURSUANT TO BANKRUPTCY CODE
                           SECTION 1104(A)

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY
JUDGE:

       Joshua N. Terry (the "Mr. Terry"), creditor and party-in-interest in the above-captioned

cases (these "Cases"), files this Emergency Motion for an Order Appointing a Trustee for the

Chapter 11 Estates of Acis Capital Management, L.P. and Acis Capital Management GP, LLC

Pursuant to Bankruptcy Code Section 1104(a) (the "Motion") and respectfully states as follows

in support thereof:




_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 1 of 16
    Case 18-30264-sgj11       Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                       Desc
                                Main Document    Page 2 of 16



                                            JURISDICTION

         1.     This Court has jurisdiction to consider the relief requested in this Motion under

28 U.S.C. § 1334 and the standing order of reference from the District Court. This matter is a

core proceeding under 28 U.S.C. § 157(b)(2). The statutory predicate for relief is Sections 1104

of the Bankruptcy Code. 1

                                   SUMMARY OF ARGUMENT 2

         2.     After two days of cumulative testimony and argument, this Court found that it

was necessary, pursuant to 303(f), to impose Section 363 of the Bankruptcy Code during the

period between the filing of Involuntary Petitions on the Petition Date and date of the entry of

the Orders for Relief (the "Gap Period"). At the 303(f) hearing, the Court found if the standard

for imposing Section 303(f) during the Gap Period is the same standard for the appointment of a

Chapter 11 Trustee under Fifth Circuit case law, this standard was met. 3 After six (6) additional

days of testimony and argument, this Court found that it was necessary to enter an order for relief

against Acis Capital Management, L.P. ("Acis LP") and Acis Capital Management GP, LLC

("Acis GP," together with Acis LP, the "Debtors" or "Acis").                  After the hearing on the

Involuntary Petitions, this Court chose not to abstain under Section 305 of the Bankruptcy Code

for, among other reasons, the inherent conflicts of interests involving Acis. The Court made

extensive findings of fact and conclusion of law. See Findings of Fact and Conclusions of Law

in Support of Orders for Relief Issued After Trial on Involuntary Bankruptcy Petition [Case No.

18-30264, Docket No. 118 & Case No. 18-30264, Docket No. 113] (the "Opinion"). Given the

abundant conflicts of interest present, Mr. Terry requests that the Court appoint a Chapter 11

1
  11 U.S.C. §§ 101 et seq. (the "Bankruptcy Code").
2
  Capitalized terms not defined in the Summary of Argument have the mean ascribed to such terms later in this
Motion.
3
  Transcript February 7, 2018 303(f) Hearing, p. 329:20-22 ("So if the cause standard under … 1104 for a
Chapter 11 trustee is the standard under 303(f), then it's met here with abundant conflicts of interest").

_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 2 of 16
 Case 18-30264-sgj11        Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10              Desc
                              Main Document    Page 3 of 16



trustee to manage the business and affairs of the Debtors pursuant to Section 1104(a) of the

Bankruptcy Code.

                     FACTUAL AND PROCEDURAL BACKGROUND

A.     State Court Litigation And Final Award

       3.      Highland Capital Management, L.P. ("Highland") commenced litigation against

Mr. Terry on or about September 8, 2016, in the 162nd Judicial District Court of Texas (the

"162nd Action"). Opinion at p. 4. Mr. Terry subsequently moved to compel arbitration, which

request was granted. Accordingly, the 162nd Action was stayed pending resolution of the

arbitration on the merits. Opinion at p. 4.

       4.      On October 20, 2017, a JAMS arbitration panel made up of former or retired

judges (the "Arbitration") entered a final award in favor of Mr. Terry in the amount of

$7,949,749.15 against the Debtors (the "Final Award"). Opinion at p. 4.

       5.      On December 18, 2017, the Final Award was reduced to a final judgment by the

44th Judicial District Court of Dallas County, Texas, and the Final Judgment was entered in

Cause No. DC-17-15244 (the "Judgment"). Opinion at p. 4.

B.     Transfer Of Note

       6.      On November 3, 2017, Acis LP, Highland, and Highland CLO Management Ltd.,

a Cayman entity ("Highland Cayman"), entered into the Agreement for Assignment and Transfer

of Promissory Note (the "Note Transfer"). Opinion at p. 19. The Note Transfer, among other

things, transferred the $9.5 million promissory note by Highland in favor of Acis LP (the "Note")

from Acis LP to Highland Cayman. Opinion at p. 20.




_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 3 of 16
 Case 18-30264-sgj11         Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10             Desc
                               Main Document    Page 4 of 16



C.     Transfer Of Management Agreement

       7.      Additionally, the Note Transfer also purports to initiate the transfer of

management contracts to Highland Cayman for the Collateralized Loan Obligations ("CLOs")

listed on Schedule A to a prior agreement (the "Management Contracts"). Opinion at p. 20.

D.     Contemplated Transfers

       8.      Upon information and belief, Acis LP did not, in fact, transfer the Management

Contracts pursuant to the Note Transfer. Instead, prior to the Court's ruling on the Emergency

Motion of Petitioning Creditor to Abrogate or Modify 11 U.S.C § 303(f), Prohibit Transfer of

Assets, and Impose, Inter Alia, 11 U.S.C § 363 [Case No. 18-30264, Docket No. 3 &

Case No. 18-30265, Docket No. 3] (the "303(f) Motion"), Acis LP intended to transfer the

Management Contracts to non-Acis, Highland affiliates beginning on or before February 1, 2018,

through a series of purported refinancing (or reset) transactions. Opinion at p. 23.

E.     Additional Transfers

       9.      On October 24, 2017, a mere four (4) days after the Final Award was entered, an

employee of Highland and representative of Acis, Frank Waterhouse, executed an agreement for

Acis which reflects a sale of Acis's interest in its risk-retention fund, Acis Loan Funding, Ltd.

("ALF"). Opinion at p. 18. The transfer of ALF is part of Acis's larger scheme to deprive Acis

of its value to the detriment of all creditors. Opinion at p. 18.

       10.     On October 27, 2017, James Dondero ("Dondero") signed an agreement

transferring management of ALF from Acis to Highland HCF Advisor Ltd., a Cayman entity

("Highland Cayman 2"), for no consideration. Opinion at p. 18.

       11.     On October 31, 2017 (11 days after the arbitration panel issued the Final Award),

Dondero caused a filing in the Registry of the island nation of Guernsey. In that filing, ALF was

renamed "Highland CLO Funding, Ltd" ("New ALF"). Opinion at p. 13. ALF and New ALF, as

_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 4 of 16
 Case 18-30264-sgj11        Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10              Desc
                              Main Document    Page 5 of 16



successor-in-interest, own equity or subordinated debt in the CLOs managed by Acis. Opinion at

p. 13.

         12.   On December 19, 2017, the partners of Acis transferred their partnership interest

to yet another Cayman entity, Neutra, Ltd. ("Neutra") for no consideration. Opinion at p. 22.

Neutra is an affiliate of Highland. Opinion at p. 52.

         13.   Also on, December 19, 2017, Acis transferred over $5 million of additional assets

to Highland CLO Holdings, Ltd., another Cayman entity ("Highland Cayman 3"), purportedly in

exchange for forgiveness of a receivable. Opinion at p. 21.

F.       Bankruptcy Filings

         14.   On January 30, 2018 (the "Acis LP Petition Date"), Terry, as petitioning creditor,

filed the Involuntary Petition Against a Non-Individual [Case No. 18-30264-7, Docket No. 1]

(the "Acis LP Petition") in the Acis LP bankruptcy case. Opinion at p. 7.

         15.   On January 30, 2018 (the "Acis GP Petition Date"), Terry, as petitioning creditor,

filed the Involuntary Petition Against a Non-Individual [Case No. 18-30265-7, Docket No. 1]

(the "Acis GP Petition," together with the Acis LP Petition, the "Involuntary Petitions") in the

Acis GP bankruptcy case. Opinion at p. 7.

G.       Order Granting Motion To Modify 11 U.S.C. § 303(f) And Impose 11 U.S.C. § 363

         16.   On January 31, 2018, Mr. Terry filed the 303(f) Motion, which asserted, among

other things, that Alleged Debtors had engaged in fraudulent transfers or intended to engage in

fraudulent transfers in the near term. After a two-day hearing on February 6 and 7, 2018 (the

"303(f) Hearing"), the Court found that it was proper to impose Section 363 of the Bankruptcy

Code before the hearing on the Motion to Dismiss and the Involuntary Petitions. Opinion at p. 1

n. 2.



_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 5 of 16
 Case 18-30264-sgj11        Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                    Desc
                              Main Document    Page 6 of 16



H.     Order For Relief

       17.     On April 13, 2018, after six (6) days of testimony and argument, this Court

entered the Opinion and the Order for Relief in an Involuntary Case [Case No. 18-30264, Docket

No. 119 & Case No. 18-30264, Docket No. 114] (the "Order for Relief"). In the Opinion, this

Court found: (i) that there are fewer than 12 such holders, excluding any employee or insider of

such person and any transferee of a transfer that is voidable under section 544, 545, 547, 548,

549, or 724(a) of the Bankruptcy Code, by one or more of such holders that hold in the aggregate

at least $15,775 of such claims; and (ii) Acis is generally not paying its debts as such debts

become due unless such debts are the subject of a bona fide dispute as to liability or amount. See

Opinion. The Court chose not to abstain under Section 305 of the Bankruptcy Code for, among

other reasons, the inherent of conflicts of interest between the Debtors and Highland. Opinion at

p. 53. The Court stressed the need to appoint an independent fiduciary (at the time, a Chapter 7

Trustee) to ensure the interest of Acis's creditors were protected in light of the post-Final Award

transfers and transactions. Opinion at p. 53.

       18.     On April 13, 2018, Diane Reed was appointed the interim Chapter 7 trustee (the

"Chapter 7 Trustee") for the Debtors' Estates.

       19.     On May 4, 2018, the Trustee filed the Expedited Motion to Convert Cases to

Chapter 11 [Case No. 18-30264, Docket No. 171].

                             ARGUMENT AND AUTHORITIES

A.     Standard For Appointment Of A Chapter 11 Trustee

       20.     Section 1104(a) of the Bankruptcy Code provides, in pertinent part, as follows:

               At any time after the commencement of the case but before confirmation
               of a plan, on request of a party in interest or the United States trustee, and
               after notice and a hearing, the court shall order the appointment of a
               trustee—


_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 6 of 16
 Case 18-30264-sgj11       Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                 Desc
                             Main Document    Page 7 of 16



              (1)     for cause, including fraud, dishonesty, incompetence or gross
                      mismanagement of the affairs of the debtor by current management, either
                      before or after the commencement of the case, or similar cause . . . or

              (2)     if such appointment is in the best interests of creditors, any equity security
                      holders, and other interests of the estate . . .

The facts here compel appointment of a trustee under Section 1104(a)(1)-(a)(2) of the

Bankruptcy Code. Indeed, the Court has already found that Mr. Terry has met the standard for

appointment of a trustee at the hearing on February 7, 2018:




_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 7 of 16
 Case 18-30264-sgj11      Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10           Desc
                            Main Document    Page 8 of 16




See Excerpt from Transcript of Hearing on Emergency Motion to Abrogate or Modify 11 U.S.C.

Section 303(F), Prohibit Transfer of Assets, and Impose, Inter Alia, 11 U.S.C. 363, filed by

Petitioning Creditor Joshua Terry as to Case Nos. 18-30264-sgj7 and 18-30265-7-sgj7, and

Emergency Motion to Set Hearing Filed by Alleged Debtor Acis Capital Management GP, LLC

at 328:16-329:22, attached hereto as Exhibit "A."




_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 8 of 16
    Case 18-30264-sgj11           Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10            Desc
                                    Main Document    Page 9 of 16



B.         Cause Exists To Appoint A Chapter 11 Trustee Under Section 1104(a)(1) Of The
           Bankruptcy Code

           21.     Pursuant to Section 1104(a)(1), grounds for appointment of a trustee for "cause

[exist here], including dishonesty, incompetence or gross mismanagement of the affairs of the

debtor[s] by current management, either before or after the commencement of the case, or similar

cause." 4 As this Court has found, the Debtors' management has demonstrated incompetence,

dishonesty and/or mismanagement of the Debtors before the Petition Date by, among other

things, fraudulently conveying valuable assets to insiders and breaching fiduciary duties to

creditors. Additionally, under Cajun Elec. Power Coop. v. Cent. La. Elec. Coop. (In re Cajun

Elec. Power Coop.), 74 F.3d 599, 600 (5th Cir. 1996) conflicts of interests in an organizational

structure, as present herein, constitute "cause" under Section 1104(a)(1). Thus, under Section

1104(a)(1), appointing a trustee is warranted.

C.         Cause Exists To Appoint A Chapter 11 Trustee Because The Appointment Of A
           Chapter 11 Trustee Is In The Best Interest of Creditors

           22.     Section 1104(a)(2) of the Bankruptcy Code sets forth a "best interests of

creditors" test, which allows bankruptcy courts to use their broad equitable powers to engage in a

cost-benefit analysis to determine whether the appointment of a chapter 11 trustee is appropriate.

The factors to be considered under section 1104(a)(2) of the Bankruptcy Code are:

                   (1)      the trustworthiness of the debtor;

                   (2)      the debtor-in-possession's past and present performance and prospects for
                            the debtor's rehabilitation;

                   (3)      the confidence or lack thereof of the business community and of creditors
                            in present management; and




4
    11 U.S.C. § 1104(a)(1) (emphasis added).


_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                             Page 9 of 16
    Case 18-30264-sgj11         Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                           Desc
                                 Main Document     Page 10 of 16



                 (4)      the benefits derived by the appointment of a trustee, balanced against the
                          cost of appointment. 5

         23.     Numerous courts have appointed a trustee relying solely upon the "best interests"

test. 6 Indeed, appointment of a trustee may be warranted even where no "cause" exists. 7 Instead

of focusing on cause, courts under section 1104(a)(2) of the Bankruptcy Code will act on "the

practical realities and necessities" of a case. 8 This Court did not abstain under Section 305 of the

Bankruptcy Code, finding, among other reasons, abstention was not in the best interest of

creditors and found that the Debtor's abstention argument "highlights who the Alleged Debtors

are really out to protect—Highland and Highland-affiliates." Opinion at p. 52.

         24.     This Court has already found the Debtors are not trustworthy. In the Opinion, the

Court questioned the credibility of the Debtors, finding "there was a lot of plausible deniability at

Trial as to the 'whos' and 'whys' for the recent maneuverings involving the Alleged Debtors

assets and rights in the weeks since the Arbitration Award." Opinion at p. 25-26.

         25.     An independent trustee is needed to objectively evaluate the Debtors' past and

present performance and prospects for the debtor's rehabilitation. As stated by this Court,

"[b]ecause of the fact that the Alleged Debtors are already in the process of being liquidated, the

bankruptcy court (and not a state court) is the most efficient and economical forum to complete

this liquidation and distribute whatever assets remain to creditors in accordance with the

distribution scheme set forth in the Bankruptcy Code and with the oversight of a neutral third-

party trustee." Opinion at p. 47 (emphasis added).

5
  In re Euro-Am. Lodging Corp., 365 B.R. 421, 427 (Bankr. S.D.N.Y. 2007); Tradex Corp. v. Morse, 339 B.R. 823,
829 (D. Mass. 2006).
6
  See, e.g., In re Microwave Prods. of Am., Inc., 102 B.R. 666, 676-77 (Bankr. W.D. Tenn. 1989); In re L.S. Good &
Co., 8 B.R. 312, 315 (Bankr. N.D. W.Va. 1980).
7
  In re Sharon Steel Corp., 871 F.2d 1217, 1226 (3d Cir. 1989); see also In re Bellevue Place Assoc., 171 B.R. 615,
623 (Bankr. N.D. Ill. 1994).
8
  In re Euro-Am. Lodging Corp., 365 B.R. at 427; In re Ionosphere Clubs, Inc., 113 B.R. 164, 168 (Bankr. S.D.N.Y.
1990).


_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                            Page 10 of 16
 Case 18-30264-sgj11         Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                 Desc
                              Main Document     Page 11 of 16



           26.   The fact that Mr. Terry was forced to resort to filing the Involuntary Petitions

demonstrates the confidence or lack thereof of the business community and of creditors in

present management. In fact, the Court's findings that Acis had amounts outstanding to creditors

for as much as 14 months is evidence that Debtor's current management, Highland, is not

adequately managing the Debtors. See Opinion at p. 34-40.

           27.   Finally, this Court found creditors would benefit from the appointment of a

trustee. The Court found "a chapter 7 trustee appears necessary to halt the post-Arbitration

Award transactions and transfers of value out of Acis LP. A chapter 7 trustee appears necessary

to resolve the inherent conflicts of interest between the Alleged Debtors and Highland." Opinion

at p. 53

           28.   Here, the appointment of a trustee would be in the best interests of the Debtors'

estates because an independent trustee would help maximize the value of the Debtors' assets for

creditors. The interests of creditors would be served by having an independent trustee evaluate

whether continued operation of the Debtors makes sense, or whether the Debtors should engage

in an orderly liquidation. A Chapter 11 trustee's judgment in this regard would not be clouded

by the personal considerations that currently drive the Debtors' management.

           29.   For all the reasons stated herein, the benefits derived by the appointment of a

trustee would outweigh the cost of appointment. Accordingly, appointment of a Chapter 11

trustee or conversion of the case to chapter 7 is appropriate in this case and in the best interest of

creditors.

D.         The Court's Opinion And Order For Relief Is Preclusive For Issues Related To
           Highland And The Debtors Inherent Conflicts Of Interest

           30.   Issue preclusion or collateral estoppel prevents Acis from relitigating the Court's

findings that inherent conflicts of interest exist between the Debtors and Highland. Opinion at p.


_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                            Page 11 of 16
    Case 18-30264-sgj11         Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                           Desc
                                 Main Document     Page 12 of 16



53. 9 Issue preclusion or collateral estoppel prevents a party from litigating an issue it previously

"litigated and lost" in another action. Parklane Hosiery Co., Inc. v. Shore, 439 U.S. 322, 327

(1979). "The three elements of collateral estoppel are: '(1) the issue at stake must be identical to

the one involved in the prior action; (2) the issue must have been actually litigated in the prior

action; and (3) the determination of the issue in the prior action must have been a necessary part

of the judgment in that earlier action.'" Hacienda Records, L.P. v. Ramos, No. 16-41180, 2018

U.S. App. LEXIS 211, *8 (5th Cir. 2018) (citing RecoverEdge L.P. v. Pentecost, 44 F.3d 1284,

1290 (5th Cir. 1995) adding a fourth element that "no special circumstance that would render

preclusion inappropriate or unfair"). "Implicit in the third element of collateral estoppel is the

requirement for a final judgment; '[t]he requirement of finality applies just as strongly to

collateral estoppel as it does to res judicata.'" Id. at *8 (citing Int'l Union of Operating Eng'rs,

Local No. 714 v. Sullivan Transfer, Inc., 650 F.2d 669, 676 (5th Cir. 1981)).

         31.     At the trial on the Involuntary Petitions, Mr. Terry asserted that the transfers,

outlined above and the mismanagement of the Debtors were (i) reason for the Court not to

abstain under Section 305 of the Bankruptcy Code, as requested by the Debtors and (ii) reason to

enter of the Order for Relief, even if the technical requirements of Section 303 of the Bankruptcy

Code were not met. The Court found "[t]he one thing that the court was wholly convinced of

was that conflicts of interest among Highland and the Alleged Debtors abound, and no one is

looking out for the interests of the Alleged Debtors as a fiduciary should." Opinion at p. 26.

         32.     The conflicts of interest between Highland and the Debtors and the incompetence

or gross mismanagement of the affairs of the Debtors by current management was briefed

extensively and actually litigated by Acis. In fact, as referenced above, the Court has made

9
  See Federal Rule of Bankruptcy Procedure ("FRBP") 7052. "Findings of fact shall be construed as conclusions of
law and conclusions of law shall be construed as findings of fact when appropriate." In re Dallas Proton Treatment
Ctr., LLC, No. 15-33783-sgj-11, 2016 Bankr. LEXIS 4384, at *2, n. 2 (Bankr. N.D. Tex. 2016).

_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                            Page 12 of 16
 Case 18-30264-sgj11        Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                 Desc
                             Main Document     Page 13 of 16



extensive factual findings related to the post-Final Award and post-Judgment transfers included

above.    In fact, "a chapter 7 trustee appears necessary to halt the post-Arbitration Award

transactions and transfers of value out of Acis LP, as discussed above... [and] appears necessary

to resolve the inherent conflicts of interest between the Alleged Debtors and Highland" was a

reason for the Court not to dismiss or abstain from these Cases. Opinion at p. 53.

         33.   Multiple briefs and pleadings were filed in anticipation of the trial on the

Involuntary Petitions, such that it would not be inappropriate or unfair to estop Acis from

relitigating these issues in the context of the appointment of a Chapter 11 Trustee.

         34.   Finally, "an order for relief pursuant to 11 U.S.C. § 303 is a final appealable order

binding upon all parties and privies subject to it." Cont.'s Ill. Nat'l Bank & Tr. Co. v. Windham,

668 F. Supp. 578, 582 (E.D. Tex. 1987); See also Marciano v. Fahs (In re Marciano), 459 B.R.

27 (B.A.P. 9th Cir. 2011) ("[a]n 'order for relief' is such a final judgment or order"). As the

Order for Relief is a final order, it has a preclusive effect on Acis and Mr. Terry. Therefore,

based on the findings of fact and conclusions of law contained in the Order for Relief, cause

exists to appoint a Chapter 11 Trustee.

         35.   Neutra, New ALF, and CLO Hold, Ltd. have appealed the Order for Relief. See

[Case No. 18-30264, Docket Nos. 145 & 150 Case No. 18-30265, Docket Nos. 135 & 147 ]. The

Order for Relief has not been stayed. "[J]udgments retain preclusive effect despite pending

appeals." In re Wyly, No. 14-35043-BJH , 2015 Bankr. LEXIS 2829, *30 (Bankr. N.D. Tex.

Aug. 24, 2015) (citing Reed v. Allen, 286 U.S. 191, 201 (1932)). Therefore, the Order for Relief

remains preclusive of the Court's findings that inherent conflicts of interest exist between the

Debtors and Highland.




_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                            Page 13 of 16
 Case 18-30264-sgj11             Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                            Desc
                                  Main Document     Page 14 of 16



E.       The Court Has Authority To Direct Appointment Of A Trustee Sua Sponte

         36.      As collateral estoppel bars the litigation of the facts that establish "cause" under

1104(a) and the determination that the appointment of a trustee is in the best interest of creditors,

this Court may direct the appointment of a Chapter 11 Trustee sua sponte. The majority of

courts, 10 including courts in the Fifth Circuit, recognize that the bankruptcy court is authorized to

"order the Unites States Trustee to…appoint a trustee in a Chapter 11 case," including "for

cause" and "if such appointment is in the best interests of creditors, any equity holders, and other

interests of the estate." In re S. Healthcare Sys., No. 02-11621, 2003 Bankr. LEXIS 2133, at *13

(Bankr. M.D. La. Jan. 6, 2003) (discussing bankruptcy court's authority to deny motion to

dismiss and instead unilaterally order the appointment of a trustee); In re Network Cancer Care,

L.P., No. 02-39409-BJH-11, 2004 Bankr. LEXIS 2559, at *21 (Bankr. N.D. Tex. Sept. 17, 2004)

(demonstrating court's power to unilaterally and immediately direct the U.S. Trustee to appoint a

Chapter 11 trustee for gross mismanagement of the debtor). Here, for the reasons stated herein,

there is cause for the Court to direct the United States Trustee to appoint a trustee and doing so

would be in the best interest of the creditors due to Debtors' gross mismanagement of the estate.

                                                    PRAYER

         Mr. Terry respectfully requests that the Court (i) enter an order granting Mr. Terry's

request for the appointment of a trustee; and (ii) granting such other and further relief as is

appropriate and just under the circumstances.

         Dated: May 4, 2018.


10
   Courts have found so under Section 105 and Section 1104 of the Code. See, e.g., United States v. Bond, 762 F.3d
255 (2d Cir. 2014) (stating a bankruptcy court is permitted to appoint a trustee sua sponte); In re United States
Mineral Prods. Co., 105 F. App'x 428 (3rd Cir. 2004) (affirming bankruptcy court's decision to sua sponte direct
appointment of trustee); In re Bibo, Inc., 76 F.3d 256, (9th Cir. 1996) (affirming district court's decision on appeal
from bankruptcy court where bankruptcy court directed appointment of bankruptcy trustee sua sponte); In re
Keven A. Mckenna, P.C., No. 10-472 ML, 2011 U.S. Dist. LEXIS 57985 (D.R.I. May 31, 2011) (same).


_____________________________________________________________________________________
EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                            Page 14 of 16
Case 18-30264-sgj11     Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10        Desc
                         Main Document     Page 15 of 16



                                              Respectfully submitted,

                                              WINSTEAD PC
                                              500 Winstead Building
                                              2728 N. Harwood Street
                                              Dallas, Texas 75201
                                              (214) 745-5400 (Phone)
                                              (214) 745-5390 (Facsimile)
                                              e-mail: rpatel@winstead.com
                                              e-mail: achiarello@winstead.com


                                              By: /s/ Rakhee V. Patel
                                                  Rakhee V. Patel – SBT # 00797213
                                                  Annmarie Chiarello – SBT # 24097496

                                              -and-

                                              BRIAN P. SHAW
                                              State Bar No. 24053473
                                              CLOUSE DUNN LLP
                                              1201 Elm Street, Suite 5200
                                              Dallas, Texas 75270-2142
                                              Telephone: (214) 220-3888
                                              Facsimile: (214) 220-3833
                                              shaw@clousedunn.com

                                              ATTORNEYS FOR JOSHUA N. TERRY




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EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                            Page 15 of 16
 Case 18-30264-sgj11        Doc 173 Filed 05/04/18 Entered 05/04/18 20:22:10                 Desc
                             Main Document     Page 16 of 16



                             CERTIFICATE OF CONFERENCE

         I hereby certify that on May 4, 2018 the undersigned counsel for Mr. Terry has conferred
with Michael Warner, counsel for the Debtors, Holland O'Neil, counsel for Highland and
affiliate entities, Lisa Lambert of the United States Trustee's Office, Arlene Alves, counsel for
U.S. Bank National Association, and David Elmquist, counsel for the Chapter 7 Trustee,
regarding the relief requested by the Motion. David Elmquist stated that the Chapter 7 Trustee is
unopposed to the relief requested in the Motion. The other parties the undersigned conferred with
either did not respond or did not take a position related to the relief requested by the Motion.

                                                      /s/ Rakhee V. Patel
                                                      One of Counsel



                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2018, notice of this document will be electronically
mailed to the parties that are registered or otherwise entitled to receive electronic notices in this
case pursuant to the Electronic Filing Procedures in this District. Pursuant to Federal Rule of
Bankruptcy Procedure 9034, the foregoing will be mailed to the parties listed below.


                                                      /s/ Annmarie Chiarello
                                                      One of Counsel

Office of The United States Trustee
Earle Cabell Federal Building
1100 Commerce Street, Room 976
Dallas, TX 75242




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EMERGENCY MOTION TO APPOINT CHAPTER 11 TRUSTEE                            Page 16 of 16
4818-2431-5999v.7
61588-3 5/4/2018
